






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00499-CR







Loa Santos, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 26TH JUDICIAL DISTRICT


NO. 86-253-K, HONORABLE WILLIAM S. LOTT, JUDGE PRESIDING






M E M O R A N D U M    O P I N I O N



On August 6, 2009, the Clerk received Loa Santos's pro se motion for out-of-time
appeal in the above Williamson County cause.  The motion was filed as a notice of appeal.

Santos was convicted and sentenced in 1986.  Santos concedes that his notice of
appeal is untimely, but he moves to suspend the appellate rules and for an order directing the district
clerk to prepare and forward an appellate record.

The court of criminal appeals has held that compliance with rule 26 is essential to vest
a court of appeals with jurisdiction, and that courts of appeals may not suspend the requirements of
the rule.  Slaton v. State, 981 S.W.2d 208, 210 (Tex. Crim. App.1998); Tex. R. App. P. 26.2(a).  In
so holding, the court reaffirmed an earlier opinion requiring strict compliance with the rules
regarding perfection of appeals.  See Olivo v. State, 918 S.W.2d 519, 522-23 (Tex. Crim. App.
1996).  Under Slaton and Olivo, we lack jurisdiction to dispose of this cause in any manner other
than by dismissing it for want of jurisdiction.  The motions to suspend the rules and to order
preparation of an appellate record are overruled.

The appeal is dismissed for want of jurisdiction.



				__________________________________________

				J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Waldrop and Henson

Dismissed for Want of Jurisdiction

Filed:   October 1, 2009

Do Not Publish 


